             Case 3:22-mj-00305-RSE Document 1 Filed 05/19/22 Page 1 of 1 PageID #: 1

AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                         May 19, 2022
                                                                  for the
                                                   __________ District
                                                    Western District of of __________
                                                                        Kentucky

                  United States of America                            )
                             v.                                       )
                  STEPHANIE RUSSELL
                                                                      )     Case No.
                                                                      )                3:22-mj-305
                                                                      )
                                                                      )
                                                                      )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                July 2021 to May 19, 2022         in the county of              Jefferson               in the
     Western           District of             Kentucky          , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. Section 1958                            Use of interstate commerce facilities in commission of murder-for-hire




         This criminal complaint is based on these facts:
See attached Affidavit




         ✔ Continued on the attached sheet.
         u


                                                                                                Complainant’s
                                                                                                C   l i   t’ signature
                                                                                                              i   t

                                                                                     Special Agent Mariola Hernandez, FBI
                                                                                                 Printed name and title

Sworn to before me E\WHOHSKRQHRURWKHUUHOLDEOH
HOHFWURQLFPHDQV

Date:    May 19, 2022
                                                                                                   Judge’s signature

City and state:                         Louisville, Kentucky                       Regina S. Edwards, U.S. Magistrate Judge
                                                                                                 Printed name and title
